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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                )
    In re:                                                      )     Chapter 11
                                                                )
    FRONTIER COMMUNICATIONS                                     )     Case No. 20-22476 (RDD)
    CORPORATION, et al.,1                                       )
                                                                )
                                       Debtors.                 )     (Joint Administration Requested)
                                                                )

                   MOTION FOR ADMISSION TO PRACTICE PRO HAC VICE

        I, Mark E. McKane, P.C., hereby request admission pro hac vice in the above-referenced
chapter 11 cases to represent the Debtors and Debtors in Possession. I certify that I am a member
in good standing as a member of the bars of the State of California and the District of Columbia.
I have submitted the filing fee of $200 with this motion for pro hac vice admissions.

Dated: April 15, 2020                          /s/ Mark E. McKane, P.C.
       New York, New York                      Mark E. McKane, P.C.
                                               KIRKLAND & ELLIS LLP
                                               KIRKLAND & ELLIS INTERNATIONAL LLP
                                               555 California Street
                                               San Francisco, California 94104
                                               Telephone:     (415) 439-1400
                                               Facsimile:     (415) 439-1500
                                               Email:         mmckane@kirkland.com

                                               Proposed Counsel for the Debtors and Debtors in Possession




1
      The last four digits of Debtor Frontier Communications Corporation’s tax identification number are 9596. Due
      to the large number of debtor entities in these chapter 11 cases, for which the Debtors have requested joint
      administration, a complete list of the debtor entities and the last four digits of their federal tax identification
      numbers are not provided herein. A complete list of such information may be obtained on the website of the
      Debtors’ proposed claims and noticing agent at https://cases.primeclerk.com/ftr. The location of the Debtors’
      service address for purposes of these chapter 11 cases is: 50 Main Street, Suite 1000, White Plains, New York
      10606.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                )
    In re:                                                      )     Chapter 11
                                                                )
    FRONTIER COMMUNICATIONS                                     )     Case No. 20-22476 (RDD)
    CORPORATION, et al.,1                                       )
                                                                )
                                       Debtors.                 )     (Joint Administration Requested)
                                                                )

               ORDER GRANTING ADMISSION TO PRACTICE PRO HAC VICE

        Upon the motion of Mark E. McKane, P.C., to be admitted pro hac vice to represent the
Debtors and Debtors in Possession in the above-referenced chapter 11 cases, and upon the
movant’s certification that he is a member in good standing as a member of the bars of the State
of California and the District of Columbia, it is hereby:

       ORDERED that Mark E. McKane, P.C., is admitted to practice pro hac vice in the above-
captioned cases to represent the Debtors and Debtors in Possession in the United States
Bankruptcy Court, Southern District of New York, provided that the filing fee has been paid.

    White Plains, New York
    Dated: ____________, 2020

                                                           THE HONORABLE ROBERT D. DRAIN
                                                           UNITED STATES BANKRUPTCY JUDGE




1
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